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NEDC Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1

                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


JGC INVESTMENTS LLC,,                        )
                                             )
Plaintiff(s),                                )
                                             )
v.                                           )      CASE NO. 8:22-cv-00149-BCB-SMB
                                             )
STATE FARM FIRE AND CASUALTY
COMPANY,                                     )
                                             )
Defendant(s).                                )


                     DISCLOSURE OF CORPORATE AFFILIATIONS,
                FINANCIAL INTEREST, AND BUSINESS ENTITY CITIZENSHIP

        Pursuant to Federal Rule of Civil Procedure 7.1 and GMAC Commercial Credit

LLC v. Dillard Department Stores, Inc., 357 F.3d 827, 828 (8th Cir. 2004), JGC
Investments, LLC, makes the following disclosures concerning parent companies,
subsidiaries, partners, limited liability entity members and managers, affiliates, and
similar entities, as well as unincorporated associations or similar entities.

[INSTRUCTIONS: Check the applicable box or boxes, and fill in any required
information.]

     This party is an individual.


     This party is a publicly held corporation or other publicly held entity.


     This party has parent corporations

            If yes, identify all parent corporations, including grandparent and great-
            grandparent corporations:

     Ten percent or more of the stock of a party is owned by a publicly held corporation or
     other publicly held entity.

            If yes, identify all such owners:
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   Another publicly held corporation or another publicly held entity has a direct financial
   interest in the outcome of the litigation.

          If yes, identify all corporations or entities and the nature of their interest:

   This party is a limited liability company or limited liability partnership.

          If yes, identify each member of the entity and the member’s state of
          citizenship: Jonathan D. Campbell (Nebraska)

   This party is an unincorporated association or entity.

          If yes, identify the members of the entity and their states of citizenship:

Additional information: None


Date:April 18, 2022                                               s/Justin D. Eichmann
                                                              (Signature)




                               CERTIFICATE OF SERVICE

I hereby certify that on April 18, 2022, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to the
following: None,


and I hereby certify that I have mailed by United States Postal Service the document to
the following CM/ECF participants: None.



                                               s/Justin D. Eichmann
